Case 1:19-md-02875-RMB-SAK   Document 685-1   Filed 12/21/20   Page 1 of 4 PageID:
                                   18524




                             Exhibit A
Case 1:19-md-02875-RMB-SAK    Document 685-1   Filed 12/21/20   Page 2 of 4 PageID:
                                    18525                                             1



       1                       UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
       2
           ___________________________         CIVIL ACTION NUMBER:
       3
                                               19-md-02875-RBK-JS
       4   IN RE: VALSARTAN PRODUCTS
           LIABILITY LITIGATION                TELEPHONIC STATUS and
       5                                       DISCOVERY CONFERENCE
           ____________________________        WITH RULINGS ON PLAINTIFFS'
       6                                       CUSTODIAN LISTS AND
                                               DOCUMENT REQUESTS
       7
                Mitchell H. Cohen Building & U.S. Courthouse
       8        4th & Cooper Streets
                Camden, New Jersey 08101
       9        December 18, 2019
                Commencing at 11:07 a.m.
      10

      11   B E F O R E:                THE HONORABLE JOEL SCHNEIDER,
                                       UNITED STATES MAGISTRATE JUDGE
      12

      13   A P P E A R A N C E S (via telephone):

      14
                MAZIE SLATER KATZ & FREEMAN, LLC
      15        BY: ADAM M. SLATER, ESQUIRE
                103 Eisenhower Parkway
      16        Roseland, New Jersey 07068
                For the Plaintiff
      17

      18        GOLOMB & HONIK, P.C.
                BY: RUBEN HONIK, ESQUIRE
      19             DAVID J. STANOCH, ESQUIRE
                1835 Market Street, Suite 2900
      20        Philadelphia, Pennsylvania 19103
                For the Plaintiff
      21

      22

      23                  Carol Farrell, Official Court Reporter
                                  cfarrell.crr@gmail.com
      24                               856-318-6100

      25    Proceedings recorded by mechanical stenography; transcript
                     produced by computer-aided transcription.



                             United States District Court
                                District of New Jersey
Case 1:19-md-02875-RMB-SAK Document 685-1 Filed 12/21/20 Page 3 of 4 PageID:
                  IN RE: VALSARTAN18526
                                   - STATUS/DISCOVERY TELECONFERENCE         24



       1   interest.    There is tremendous public interest in this case.

       2   It has enormous public health consequences -- whether a very

       3   popular drug supplied in the United States was contaminated or

       4   not.    Given the public interest and the health and welfare

       5   implications, when it comes to evaluating the burden to the

       6   defendant in the case, the Court has to take that into

       7   consideration.    It's not just a simple matter of dollars and

       8   cents, but on this particular issue, it really isn't a dollar

       9   and cents issue as far as the Court's concerned.

      10               The Court's main concern is, again, whether or not,

      11   if we add this person to a pretty hefty custodian list, it's

      12   likely or probable that we're going to find something that is

      13   not otherwise going to be produced.     I don't think that's the

      14   case.   I could be proven wrong in the future.     If there is

      15   evidence in that regard, so be it.

      16               But in terms of a custodian search for documents, the

      17   Court sustains Mr. Goldberg's objections and will remove

      18   Mr. Chen from the list, and will approve the list absent his

      19   name.

      20               I'll make it clear.   The Court is not ruling at this

      21   time whether or not Mr. Chen is an appropriate deponent.

      22   That's a completely different evaluation that the Court has to

      23   consider at the relevant time.     If defendant wants to depose

      24   Mr. Chen, we'll deal with the issue at that point.      But in no

      25   way, shape, or form should the Court's ruling as to whether or




                            United States District Court
                               District of New Jersey
Case 1:19-md-02875-RMB-SAK Document 685-1 Filed 12/21/20 Page 4 of 4 PageID:
                  IN RE: VALSARTAN18527
                                   - STATUS/DISCOVERY TELECONFERENCE         25



       1   not Mr. Chen is an appropriate custodian be deemed as a ruling

       2   as to whether or not he may be deposed in the case.

       3               So that's the Court's ruling as to Mr. Chen.      I'm

       4   going to approve Exhibit B with the removal of his name from

       5   the list.

       6               MR. SLATER:   Your Honor, we need to substitute

       7   somebody for him.

       8               THE COURT:    Do you have a name?

       9               MR. SLATER:   I would need a couple hours or an hour

      10   or two just so I can talk to somebody, to some people, and

      11   just figure out who to substitute.

      12               THE COURT:    Okay.   Could you e-mail me that name,

      13   Mr. Slater, and I'll add it to Exhibit B, so I can enter this

      14   order?

      15               MR. SLATER:   Of course.

      16               THE COURT:    Thank you.

      17               All right.    Is the only issue left the issues

      18   regarding the document requests?

      19               MR. SLATER:   Your Honor --

      20               MR. RUBENSTEIN:   Your Honor, very quickly, this is --

      21   sorry.   This is Brian Rubenstein for the Teva defendants.

      22               There is no objections with respect to Exhibit D, the

      23   list of Teva custodians, but there were just a few names that

      24   were misspelled, so we can submit a revised list with the

      25   proper spellings of those few names.




                            United States District Court
                               District of New Jersey
